USDC IN/ND case 2:17-cv-00033-GSL               document 208       filed 08/30/22     page 1 of 3


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

JOHN DOE,                                                            )
                                                                     )      CIVIL ACTION
               Plaintiff,                                            )
v.                                                                   )
                                                                     )
PURDUE UNIVERSITY, PURDUE UNIVERSITY                                 )
BOARD OF TRUSTEES, MITCHELL ELIAS                                    )
DANIELS, JR., in his official capacity as President of               )
Purdue University, ALYSA CHRISTMAS ROLLOCK,                          )      No. 2:17-cv-33-JPK
in her official capacity at Purdue University, KATHERINE             )
SERMERSHEIM, in her official capacity at Purdue University,          )
                                                                     )
               Defendants.                                           )


                        PLAINTIFF JOHN DOE’S MOTION FOR
                     RECONSIDERATION AND/OR CERTIFICATION

       Plaintiff John Doe (“John Doe”), by counsel, respectfully submits this Memorandum of

Law in support of John Doe’s motion pursuant to Rules 54(b) and 60 of the Federal Rules of Civil

Procedure for re-argument, reconsideration and amendment of certain parts of the Court’s non-

final Opinion and Order dated August 11, 2022, that (i) deny John Doe’s stigma-plus liberty

interest on the ground that John was not in a position to refuse to give authorization to the Navy

ROTC to have the university disciplinary files was not the same as having a legal requirement to

disclose the university disciplinary files to the Navy ROTC and thus there was self-defamation,

while indicating what would cause denial of summary judgment (pp. 16-18 of Slip Opinion), (ii)

fails to decide and dismiss John Doe’s motion for summary judgment for dismissal of Defendants’

Counterclaim a legally defective use of the Declaratory Judgment Act according to case law in the

Seventh Circuit and there is not a federal law basis for the requested declarations and (iii), state

that there are material issues of fact as to the stigma-plus interest on the basis of allegations

                                                [1]
USDC IN/ND case 2:17-cv-00033-GSL                 document 208         filed 08/30/22      page 2 of 3


contrary to the facts in the summary judgment record (pp. 15-16 of Slip Opinion), and that on

reconsideration, the Court should rule that (i) John Doe was legally required to disclose the

university disciplinary files to the Navy ROTC and thus there was no self-defamation and

summary judgment could not be entered on John Doe’s due process claim, as John had a stigma-

plus liberty interest consistent with the Court’s Opinion and Order on what would cause denial of

summary judgment, (ii) Defendants’ Counterclaim is dismissed with prejudice on the grounds that

it is a legally defective use of the Declaratory Judgment Act according to case law in the Seventh

Circuit and there is not stated and there is not a federal court jurisdiction for the requested

declarations; and (iii) there are not material issues of fact as to the stigma-plus interest on the basis

of alleged falsity; and for any ruling not reconsidered and not amended on this motion, certifying

for appeal to the U.S. Court of Appeals for the Second Circuit any such ruling, and the Court

should grant such other and further relief as the Court deems just and proper.

        This motion is supported by an accompanying Memorandum of Law and Exhibits to the

Motion -- a Declaration of Plaintiff John Doe, additional pages of John Doe’s and Jacob

Amberger’s depositions, and the Navy Regulations for Officer Development 2015-2016 (produced

by the Navy’s counsel to Purdue’s counsel in response to Purdue’s FOIA request and then

transmitted to John Doe’s counsel), and by reference portions of the summary judgment record.

Dated: August 30, 2022                          Respectfully submitted,
                                                NESENOFF & MILTENBERG, LLP
                                                By: /s/Philip A. Byler
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                                                   [2]
USDC IN/ND case 2:17-cv-00033-GSL             document 208       filed 08/30/22    page 3 of 3



    TABLE OF MOTION FOR RECONSIDERATION/CERTIFICATION EXHIBITS

Ex. A: John Doe 08/2022 Declaration

Ex. B: John Doe Dep 22-26, 92-93

Ex. C: Navy Regulations for Officer Development 2015-2016

Ex. D: Amberger Dep tr 78-79

By reference, the summary judgment record




                               CERTIFICATE OF SERVICE

       The undersigned certifies that this document was served upon the attorneys of record for

each party to the above-entitled cause at the below address by ECF on August 30, 2021.

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                                          _____Philip A. Byler, Esq.__________
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